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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

ORCUN SELCUK; et al.;

                   Plaintiffs,
                                                           Case No. 4:24-cv-00390

       v.                                                    PLAINTIFFS’ MOTION FOR
                                                              EXPEDITED DISCOVERY
PAUL D. PATE, in his official capacity as the
Iowa Secretary of State; et al.,                         EXPEDITED RELIEF REQUESTED

                   Defendants.



                 PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY

       In accord with Rules 26, 32, and 33 of the Federal Rules of Civil Procedure, Plaintiffs

Orcun Selcuk, Alan David Gwilliam, Tingting Zhen, Michael Brokloff, and the League of United

Latin American Citizens of Iowa (collectively, “Plaintiffs”) respectfully move the Court for leave

to obtain targeted, expedited written discovery necessary to assess whether Defendants have

adopted any safeguards to prevent United States citizens from being wrongfully disenfranchised.

The Court’s November 3, 2024 order denying Plaintiffs’ motion for a temporary restraining order

reviewed the history of the Secretary’s list of voters and the process persons on the list face to have

their votes cast and counted. See ECF No. 32 (“Order”). Given developing facts on election day

and the impending period for evaluating provisional ballots, Plaintiffs seek expedited discovery to

obtain transparency about treatment of voters on the list and the procedures being used to assess

the citizenship of those voters.

       In support of this Motion for Expedited Discovery, Plaintiffs state:
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        1.      As set forth in the Court’s Order, the Secretary produced a list of registered voters

he claims should be suspected of being non-citizens. Order at 1, 4. It is undisputed that the list

contains individuals who are, in fact, United States citizens. Id. at 4. It also includes individuals

whose citizenship cannot reasonably be disputed based on the facts assessed by the Secretary. Id.

at 12. The Court’s Order recognized that the Secretary “backed away from the bright-line

positions” in his directives to local officials. Id. at 13.

        2.      Unfortunately, notwithstanding his representations to the Court, Plaintiffs are not

aware of any additional guidance provided by the Secretary to local election officials. On election

day, local election officials are taking inconsistent, often legally wrong approaches to the affected

voters that are deeply concerning. In support of this Motion, Plaintiffs submit attached brief in

support and the declarations of Zydrune Didvyzte-Morgan, Kolby Warren, Shayla McCormally,

which are all being filed contemporaneously herewith.

        3.      No clear rules govern the determination whether a registered voter can cast a normal

ballot. Voters have been turned away from the polls even when presenting valid passports.

Likewise, for voters forced to cast provisional ballots, no clear rules govern the determination

whether to count the ballot.

        4.      Acknowledging the Court’s concerns with issuance of injunctive relief at this stage

of the election, Plaintiffs seek transparency to understand how this election is being administered

with respect to voters on the Secretary’s list. Such transparency is essential monitoring

administration of the election and protecting the rights of affected voters.

        5.      Plaintiffs attached their Request for Production of Documents propounding narrow

requests for production of specific documents. Plaintiffs’ intended expedited discovery requests

are being filed contemporaneously herewith.
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       6.      At approximately 3:00 PM CT, counsel for Plaintiffs met and conferred with

counsel for the Secretary via videoconference in an attempt to resolve this discovery issue. Despite

this good faith meet and confer, the Secretary opposes any discovery and indicated the Secretary

intends to oppose Plaintiffs’ Motion.

       7.      Permitting expedited discovery in such circumstances is appropriate. See Gibson v.

Bagas Restaurants, Inc., 87 F.R.D. 60, 61 (W.D. Mo. May 8, 1980) (finding that expedited

discovery should be granted “when some unusual circumstances or conditions exist[ed] that would

be likely to prejudice the party if he were compelled to wait the required time.”) Courts generally

use one of two standards to determine whether expedited discovery is appropriate. Monsanto Co.

v. Woods, 250 F.R.D. 411, 413 (E.D. Mo. March 25, 2008). Multiple courts have upheld the “good

cause” standard as the “appropriate standard” for review. Semitool, Inc. v. Tokyo Electron Am.,

Inc., 208 F.R.D. 273, 276 (N.D.Cal.2002); Qwest Comm. Int'l, Inc. v. WorldQuest Networks, Inc.,

213 F.R.D. 418, 419 (D.Colo.2003); Yokohama Tire Corp. v. Dealers Tire Supply, Inc., 202 F.R.D.

612, 613–14 (D.Ariz.2001). Cf. Merrill Lynch, 194 F.R.D. 618, 624. Under the good cause

standard, the party requesting expedited discovery must show that the need for expedited

discovery, in consideration of administration of justice, outweighs prejudice to responding party.”

Wachovia Sec., L.L.C. v. Stanton, 571 F. Supp. 2d 1014, 1049–50 (N.D. Iowa 2008) (quoting

Monsanto, 250 F.R.D. at 413).

       8.      Plaintiffs meet this standard for the reasons set forth in the accompanying

memorandum of law.

       9.      Providing the expedited discovery responsive to the proposed requests attached

hereto will not unfairly prejudice any party.

               WHEREFORE, Plaintiffs respectfully request the Court to:
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             (a)     Enter an order granting expedited discovery; and

             (b)     Order Defendants to produce the Secretary’s list and contact information

for persons on the list by November 6, 2023, and all other documents responsive to the requests

for production of documents by November 7, 2024.



                                           Respectfully submitted,

Dated: November 5, 2024                    /s/ Jesse Linebaugh
                                           Jesse Linebaugh (AT0004744)
                                           Email: jesse.linebaugh@faegredrinker.com
                                           Matthew J. Scott (AT0014441)
                                           Email: matthew.scott@faegredrinker.com
                                           Joe R. Quinn (AT0015363)
                                           Email: joe.quinn@faegredrinker.com
                                           Emily R. O’Brien** (AT0015757)
                                           Email: emily.obrien@faegredrinker.com
                                           FAEGRE DRINKER BIDDLE & REATH LLP
                                           801 Grand Avenue, 33rd Floor
                                           Des Moines, IA 50309
                                           Telephone: +1 515 248 9000

                                           Craig S. Coleman*
                                           Email: craig.coleman@faegredrinker.com
                                           Jeffrey P. Justman*
                                           Email: jeff.justman@faegredrinker.com
                                           FAEGRE DRINKER BIDDLE & REATH LLP
                                           2200 Wells Fargo Center
                                           90 South 7th Street
                                           Minneapolis, MN 55402
                                           Telephone: +1 612 766 7000

                                           Rita Bettis Austen (AT0011558)
                                           Email: rita.bettis@aclu-ia.org
                                           Thomas D. Story (AT0013130)
                                           Email: thomas.story@aclu-ia.org
                                           AMERICAN CIVIL LIBERTIES UNION OF
                                           IOWA FOUNDATION
                                           505 Fifth Avenue, Suite 808
                                           Des Moines, IA 50309
                                           Telephone: +1 515 243 3988

                                           Ari Savitzky*
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                              Email: asavitzky@aclu.org
                              Jonathan Topaz*
                              Email: jtopaz@aclu.org
                              Ming Cheung*
                              Email: mcheung@aclu.org
                              Sophia Lin Lakin*
                              Email: slakin@aclu.org
                              AMERICAN CIVIL LIBERTIES UNION
                              FOUNDATION, INC.
                              125 Broad Street, 18th Floor
                              New York, NY 10004
                              Telephone: +1 212 549 2500

                              Patricia Yan*
                              Email: pyan@aclu.org
                              AMERICAN CIVIL LIBERTIES UNION
                              FOUNDATION, INC.
                              915 15th Street NW
                              Washington, DC 20005
                              Telephone: +1 202 457 0800

                              *Pro Hac Vice Application Forthcoming
                              **Application for Admission Forthcoming

                              Attorneys for Plaintiffs Orcun Selcuk, Alan David
                              Gwilliam, Tingting Zhen, Michael Brokloff, and the
                              League of United Latin American Citizens of Iowa
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                              CERTIFICATE OF SERVICE

        The undersigned certifies that a true copy of the foregoing document was filed
electronically through the Court’s CM/ECF filing system on November 5, 2024, which will send
notice to all counsel of record.


                                                 /s/ Jesse Linebaugh
